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                            United States District Court
                                      for the
                            Southern District of Florida

  Lori Lucas, Plaintiff,                 )
                                         )
  v.                                     ) Civil Action No. 19-20914-Civ-Scola
                                         )              In Admiralty
  Royal Caribbean Cruises, LTD.,         )
  Defendant.                             )
           Order Adopting Magistrate’s Report and Recommendation
         This matter was referred to United States Magistrate Judge Edwin G. Torres
  for a report and recommendation on the Defendant’s motion to tax costs (ECF No.
  115). On September 10, 2020, Judge Torres issued a report, recommending that
  the Court grant the motion and award the Defendant costs in the amount of
  $10,507.35. (Rep. & Recs., ECF No. 117.) No objections have been filed and the
  time to object has passed. Having considered Judge Torres’s report, the record,
  and the relevant legal authorities, the Court finds Judge Torres’s report and
  recommendation cogent and compelling.
         The Court affirms and adopts Judge Torres’s report and recommendation
  (ECF No. 117) and grants the Defendant’s motion (ECF No. 107). Consistent with
  the report, the Court awards $10,507.35 in taxable costs to Defendant Royal
  Caribbean Cruises, LTD. to be paid by Plaintiff Lori Lucas.
        Done and ordered at Miami, Florida on October 21, 2020.


                                            _______________________________
                                            Robert N. Scola, Jr.
                                            United States District Judge
